 

Case 4:09-cr-00342 Document 1574 Filed on 03/29/22 in TXSD Page 1 of 2

Anited States Court of Appeals
for the Sf tfth Circuit United States Court of Appests

United States Courts

Southern District of Texas — FILED
FILED March 7, 2022
March 29, 2022 No. 21-20110 Lyle W. Cayce
Summary Calendar

Nathan Ochsner, Clerk of Court . Clerk

UNITED STATES OF AMERICA,

Plaintiff—Appellee,
versus

LEROY KING,

Defendant— Appellant.

 

Appeal from the United States District Court
for the Southern District of Texas
USDC No. 4:09-CR-342-5

 

Before JOLLY, WILLETT, and ENGELHARDT, Circuit Judges.
JUDGMENT

This cause was considered on the record on appeal and the briefs on
file.

IT IS ORDERED and ADJUDGED that the appeal is
DISMISSED as frivolous.

 

as the mandate on Mar 29, 2022

Attest:
Jef W. Canes
Clerk, U.S. Court of Appeats, Fifth Circuit
 

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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

March 29, 2022

Mr. Nathan Ochsner

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 21-20110 USA v. King
USDC No. 4:09-CR-342-5

Dear Mr. Ochsner,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.

Sincerely,

LYLE W. CAYCE, Clerk

By:
Christina A. Gardner, Deputy Clerk
504-310-7684

 

 

cc: (letter only)
Ms. Lauretta Drake Bahry
Mr. Leroy King
Ms. Carmen Castillo Mitchell
